Case 2:04-Cr-20136-BBD Document 67 Filed 09/01/05 Page 1 of 2 Page|D 78

IN THE UNITED sTATEs DISTRICT coURT F""M 7%* U`C`
FoR THE wEsTF.RN DISTRICT oF TENNESSEE-

 

 

wEsTERN DIVIsIoN '* 65 SEF J-`1 PH 3= 39
UNITED STATES OF AMERICA, *
Plaintiff, *
v. * CR. NO. 04-20136-D
NATASHA RENEE DONELLY, *
Defendant. *
oRDER

 

After having considered the defendant’s motion to Reset the
Supervised Release Violation Hearing, the Court finds the Motion

Should be Granted.

 

The Motion shall be reset to THM£SOF{Y , September 23
2005 at [Q'§ZO am#-pm.

It: is so Ordered, Adjudged and Decreed, this 3 g day of
¢Augu;t 2005.

 

 

U'N TED STATES DISTRICT COURT J'UDGE

  
 

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vlth Hule 55 and/or 32(b) FRCrP on

 

 

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Honorable Bernice Donald
US DISTRICT COURT

